                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                        Harrisonburg Division


   JOHN DOE 4, by and through his next friend,
   NELSON LOPEZ, on behalf of himself and all
   persons similarly situated,                        Civil No. 5:17-cv-00097-EKD/JCH
                                                      Judge Elizabeth K. Dillon
                   Plaintiffs,

   v.

   SHENANDOAH VALLEY JUVENILE
   CENTER COMMISSION,

                   Defendant.


                   PLAINTIFFS', MOTION TO COMPEL DISCOVERY AND FOR
                   MODIFICATION OF THE AMENDED SCHEDULING ORDER

          Plaintiffs John Doe 4, et al., by their attorneys, hereby move this Court, pursuant to

  Rule 37(a)(1), Fed. R. Civ. P., for the entry of an Order compelling Defendant Shenandoah

  Valley Juvenile Center Commission ("SVJCC") to: (i) make SVJCC-designated expert witness

  Joseph Gorin, Psy. D., available for deposition by Plaintiffs; and (ii) make SVJCC-designated

  expert witness Timothy Kane, M.D., available to Plaintiffs for additional deposition testimony

  beyond the three hours of deposition time SVJCC offered Plaintiffs, essentially on a "take it or

  leave it" basis, in contravention of Plaintiffs' right to depose Dr. Kane for a full seven (7) hours

  to the extent Plaintiffs' counsel deems necessary and/or appropriate in the circumstances of this

  case.

          Plaintiffs also request that the Court allow for a minor modification of the Amended

  Scheduling Order entered August 22,2018      (ECF Docket No. 81), so as to allow Plaintiffs seven

  (7) calendar days following the completion of their depositions of SVJCC's designated expert

  witnesses within which to move to exclude any or all of Defendant's expert witnesses from



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  testifying at the upcoming trial in this action, should they choose to do so. This modest

  modification is consistent with fundamental fairness and will not unduly prejudice the

  Defendant's   opportunity to prepare for trial or unduly disrupt the orderly but highly demanding

  procedural schedule in connection with which both sides have heretofore adhered in a flexible

  and cooperative manner.

           Plaintiffs' counsel and Defendant's   counsel have conferred regarding these matters but

  have been unable to resolve their differences, thus necessitating this request for the Court's

  assistance.

           For these reasons, as more fully elaborated in Plaintiffs' Memorandum of Law filed in

  support hereof, this Motion should be granted.

  DATED:          October 29,2018

                                          Respectfully submitted,

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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICf OF VIRGINIA
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   JOHN DOE 4, by and through his next friend,
   NELSON LOPEZ, on behalf of himself and all
   persons similarly situated,                      Civil No. 5:17-cv-00097-EKD/JCH
                                                    Judge Elizabeth K. Dillon
                  Plaintiffs,

   v.

   SHENANDOAH VALLEY JUVENILE
   CENTER COMMISSION,

                  Defendant.


                                               ORDER

         This matter comes before the Court for decision on the Motion to Compel Discovery and

  for Modification of the Amended Scheduling Order filed by Plaintiffs John Doe 4, et al., on

  October 29,2018.

         The Court having considered Plaintiff s Motion and supporting Memorandum of Law;

  the Defendant Shenandoah Valley Juvenile Center Commission's Opposition thereto; the

  Plaintiffs' Reply; and the arguments of counsel in a telephonic hearing convened on the Motion

  on             , 2018; and the Court having concluded on the basis of all of the foregoing that

  good cause has been shown for the granting of the reliefrequested:

         It is hereby ordered that Plaintiffs' Motion should be and the same is GRANTED.      In

  accordance with this determination:

         (i)     Defendant shall make its designated expert witness Joseph Gorin, Psy. D.,
                 available to be deposed by Plaintiffs' counsel on a date and at a time mutually
                 convenient to all counsel;

         (ii)   if the three (3) hours provided by Defendant within which its designated expert
                witness Timothy Kane, M.D., is to be deposed by Plaintiffs' counsel on



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                November 2,20.18, proves inadequate to meet Plaintiffs' needs, Defendant shall
                make Dr. Kane available for up to an additional four (4) hours for deposition by
                Plaintiffs on a date and at a time mutually convenient to all counsel in accordance
                with the provisions of Rule 30(d)(1), Fed. R. Civ. P.; and

        (iii)   the Amended Scheduling Order (ECF Dkt. No. 81), is hereby modified, in order
                to allow the Plaintiffs' counsel, in their discretion, to move to exclude any or all
                of Defendant's designated expert orfact/expert witnesses from testifying at trial
                so long as such Motion and supporting papers are filed within seven (7) days of
                the date upon which the Plaintiffs' depositions of the Defendant's witnesses are
                completed ..

        SO ORDERED this ... day of November 2018.




                                                       Hon. Joel C. Hoppe
                                                       U.S. Magistrate Judge



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                                   CERTIFICATE      OF SERVICE

         I hereby certify that on this 29th day of October, 2018, true and correct copies of

  Plaintiffs' Motion to Compel Discovery and for Modification of the Amended Scheduling Order

  and proposed Order were served via electronic mail upon the following:

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